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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
                      Movant,                  )
                                               )
v.                                             )    Case No. 4:17 MJ 407 DDN
                                               )
TAYLOR MICHAEL WILSON,                         )
                                               )
                      Respondent.              )

                                           ORDER

       This matter is before the Court on the pro se motion of Taylor Michael Wilson for the
return of seized property under Federal Rule of Criminal Procedure Rule 41(g). Doc. [10]. The
government responded in opposition. Doc. [13]. On August 27, 2021, Judge Noce issued an
Order and Recommendation, recommending that the Court deny Wilson’s motion. Doc. [17].
Wilson has not filed any objections to the Order and Recommendation, and the time to do so
has passed. After careful consideration, and in light of Wilson’s failure to file objections, the
Court sustains and adopts the thorough reasoning set forth in Judge Noce’s Order and
Recommendation.
       Accordingly,
       IT IS HEREBY ORDERED that the Court SUSTAINS, ADOPTS, and
INCORPORATES Judge Noce’s Order and Recommendation, Doc. [17], and DENIES
Movant’s Motion for Return of Seized Property, Doc. [10].
       Dated this 18th day of October, 2021




                                                    MATTHEW T. SCHELP
                                                    UNITED STATES DISTRICT JUDGE
